United States Distli@f@din@-00-00463-LRL Documenti1 Filed 09/0120 a9 Gel pe bdabiegslhe 1
Fai) Violation Notice

 

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VOU ARE CHARGED WITH THE FOLLOWING VIOLATION

 

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DEFENDANT INFORMATION

 
   

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Date (mmddyy) UL. Magistrate Judge

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